Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 1 of 56




                         EXHIBIT N
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 2 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 3 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 4 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 5 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 6 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 7 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 8 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 9 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 10 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 11 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 12 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 13 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 14 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 15 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 16 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 17 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 18 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 19 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 20 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 21 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 22 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 23 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 24 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 25 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 26 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 27 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 28 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 29 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 30 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 31 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 32 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 33 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 34 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 35 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 36 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 37 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 38 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 39 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 40 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 41 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 42 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 43 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 44 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 45 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 46 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 47 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 48 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 49 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 50 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 51 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 52 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 53 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 54 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 55 of 56
Case 2:90-cv-00520-KJM-SCR   Document 3434-2   Filed 12/23/08   Page 56 of 56
